               Case: 25-1583
             UNITED          Document:
                     STATES COURT  OF15   Page: 1FORDate
                                       APPEALS       THEFiled:
                                                         THIRD 04/11/2025
                                                                   CIRCUIT

                          CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
___________________________________________________________________________________
Atlas Data Privacy Corporation, et al. ("Appellees") v. Belles Camp Communications, Inc. ("Belles")


APPEAL FROM DISTRICT COURT:
          District of New Jersey
District:____________________________________________________________________________
D.C. Docket No.:_____________________________________________________________________
                       1:24-cv-04949-HB
Date proceedings initiated in D.C.:_______________________________________________________
                                             April 15, 2024
Date Notice of Appeal filed:____________________________________________________________
                                    March 31, 2025
USCA No.:_________________________________________________________________________
              25-1583
___________________________________________________________________________________
                                                   COUNSEL ON APPEAL
Appellant(s):_______________________________________________________________________
                  Belles Camp Communications, Inc.
Name of Counsel:____________________________________________________________________
                        Stephen M. Orlofsky, Philip N. Yannella, and Thomas P. Cialino of Blank Rome LLP
Name of Party(ies):___________________________________________________________________
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                    (609) 750-7700
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           (609) 750-7701
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         stephen.orlofsky@blankrome.com,    philip.yannella@blankrome.com, thomas.cialino@blankrome.com


For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
Name of Counsel:____________________________________________________________________
                     Rajiv D. Parikh, Jessica A. Merejo, and Kathleen B. Einhorn of PEM Law LLP
Name of Party(ies):___________________________________________________________________
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Name of Counsel:____________________________________________________________________
Name of Party(ies):___________________________________________________________________
Address:___________________________________________________________________________
Telephone No.:______________________________________________________________________
Fax No.:____________________________________________________________________________
E-mail:_____________________________________________________________________________

Is this a Cross-Appeal?                  Yes        No ✔
Appeals Docket No.:__________________________________________________________________

Was there a previous appeal in case?        Yes        No ✔
If yes, Short Title:____________________________________________________________________
Appeals Docket No.:__________________________________________________________________
Citation, if reported:__________________________________________________________________
To your knowledge Case:     25-1583
                        is there any caseDocument:
                                            now pending 15 orPage:
                                                              about2to beDate Filed:
                                                                          brought    04/11/2025
                                                                                  before this Court or any other
court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal?            Yes          No ✔
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
                                                                                     Yes ✔        No
If you answered yes to either “a” or “b” please provide:
Case Name:_________________________________________________________________________
              See attached addendum of consolidated cases
D.C. Docket No.:_____________________________________________________________________
Court or Agency:_____________________________________________________________________
Docket Number:_____________________________________________________________________
Citation, if reported:__________________________________________________________________
___________________________________________________________________________________
                                                  NATURE OF SUIT
                                              (Check as many as apply)

1. FEDERAL STATUTES                                           ASSAULT/DEFAMATION
   ANTITRUST                                                  PRODUCT LIABILITY/WARRANTY
   BANKRUPTCY                                                 DIVERSITY
   BANKS & BANKING                                            OTHER Specify:______________________
   CIVIL RIGHTS
   COMMERCE, ROUTES, AND TARIFFS                           3. CONTRACTS
   COMMODITIES                                                ADMIRALTY/MARITIME
   COMMUNICATIONS                                             ARBITRATION
   CONSUMER PROTECTION                                        COMMERCIAL
   COPYRIGHT                                                  EMPLOYMENT
   PATENT                                                     INSURANCE
   TRADEMARK                                                  NEGOTIABLE DISBURSEMENTS
   ELECTION                                                   OTHER Specify:______________________
   ENERGY
   ENVIRONMENTAL                                           4. PRISONER PETITIONS
   FOIA FREEDOM OF INFORMATION                                CIVIL RIGHTS
   IMMIGRATION                                                VACATE SENTENCE 2255
   LABOR                                                      HABEAS CORPUS 2254
   OSHA                                                       HABEAS CORPUS 2241
   SECURITIES                                                 MANDAMUS/PROHIBITION
   SOCIAL SECURITY                                          ✔ OTHER Specify:______________________
                                                                            NJSA 56:8-166.1, et seq.
   TAX
   EQUAL ACCESS TO JUSTICE                                 5. OTHER
   OTHER Specify:______________________                       FORFEITURE
                                                              CIVIL GRAND JURY
2. TORTS                                                      TREATY Specify:_____________________
   ADMIRALTY                                                  OTHER Specify:______________________

This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
_____
10th   day of ____________________,
                April                       20_____
                                               25    .

                     /s/Thomas P. Cialino
Signature of Counsel:_________________________________________________________________
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Other Pending Cases (cont. from page 2 of Civil Appeal Information Statement):

 Case Name:             Atlas Data Privacy Corp., et al v. We Inform, LLC, et al.
 D.C. Docket No.:       1:24-cv-4037-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1555

 Case Name:             Atlas Data Privacy Corp. et al. v. Infomatics, LLC, et al.
 D.C. Docket No.:       1:24-cv-4037-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1556

 Case Name:             Atlas Data Privacy Corp., et al v. The People Searchers, LLC
 D.C. Docket No.:       1:24-cv-4045-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1557

 Case Name:             Atlas Data Privacy Corp., et al v. DM Group, Inc., et al.
 D.C. Docket No.:       1:24-cv-04075-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1558

 Case Name:             Atlas Data Privacy Corp., et al v. Deluxe Corporation, et al.
 D.C. Docket No.:       1:24-cv-4080-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1559

 Case Name:             Atlas Data Privacy Corp., et al v. Quantarium Alliance, LLC
 D.C. Docket No.:       1:24-cv-4098-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1560

 Case Name:             Atlas Data Privacy Corp., et al v. Yardi Systems, Inc., et al.
 D.C. Docket No.:       1:24-cv-4103-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1561

 Case Name:             Atlas Data Privacy Corp., et al v. Digital Safety Products, LLC
 D.C. Docket No.:       1:24-cv-4141-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1562

 Case Name:             Atlas Data Privacy Corp., et al v. Civil Data Research
 D.C. Docket No.:       1:24-cv-04143-HB
 Court or Agency:       United States District Court for the District of New Jersey
 Docket No.:            25-1563

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Case Name:          Atlas Data Privacy Corp., et al v. Scalable Commerce, LLC
D.C. Docket No.:    1:24-cv-04160-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1564

Case Name:          Atlas Data Privacy Corp., et al v. Labels & Lists, Inc.
D.C. Docket No.:    1:24-cv-4174-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1565

Case Name:          Atlas Data Privacy Corp., et al v. Innovis Data Solutions Inc.,
D.C. Docket No.:    1:24-cv-4176-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1566

Case Name:          Atlas Data Privacy Corp., et al v. Accurate Append, Inc.
D.C. Docket No.:    1:24-cv-4178-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1567

Case Name:          Atlas Data Privacy Corp., et al v. Zillow, Inc., et al.
D.C. Docket No.:    1:24-cv-04256-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1568

Case Name:          Atlas Data Privacy Corp., et al v. Equimine, Inc., et al.
D.C. Docket No.:    1:24-cv-04261 -HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1569

Case Name:          Atlas Data Privacy Corp., et al. v. Thomson Reuters Corp.
D.C. Docket No.:    1:24-cv-04269-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1570

Case Name:          Atlas Data Privacy Corp., et al v. Melissa Data, Corp., et al.
D.C. Docket No.:    1:24-cv-4292-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1571

Case Name:          Atlas Data Privacy Corp., et al v. Restoration of America, et al.
D.C. Docket No.:    1:24-cv-4324-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1572


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Case Name:          Atlas Data Privacy Corp., et al v. i360, LLC, et al.
D.C. Docket No.:    1:24-cv-4345-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1573

Case Name:          Atlas Data Privacy Corp., et al v. GoHunt, LLC, et al.
D.C. Docket No.:    1:24-cv-04380-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1574

Case Name:          Atlas Data Privacy Corp., et al v. Accuzip, Inc.,
D.C. Docket No.:    1:24-cv-4383-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1575

Case Name:          Atlas Data Privacy Corp., et al v. Synaptix Technology, LLC
D.C. Docket No.:    1:24-cv-4385-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1576

Case Name:          Atlas Data Privacy Corp., et al v. Joy Rockwell Enter., Inc..
D.C. Docket No.:    1:24-cv-4389-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1577

Case Name:          Atlas Data Privacy Corp., et al v. Fortnoff Financial, LLC,
D.C. Docket No.:    1:24-cv-04390-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1578

Case Name:          Atlas Data Privacy Corp., et al v. MyHeritage, Ltd., et al.
D.C. Docket No.:    1:24-cv-4392-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1579

Case Name:          Atlas Data Privacy Corp., et al v. E-Merges.com, Inc.
D.C. Docket No.:    1:24-cv-4434-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1580

Case Name:          Atlas Data Privacy Corp., et al v. Nuwber, Inc., et al.
D.C. Docket No.:    1:24-cv-04609-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1581




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Case Name:          Atlas Data Privacy Corp., et al v. RocketReach LLC, et al.
D.C. Docket No.:    1:24-cv-4664-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1582

Case Name:          Atlas Data Privacy Corp., et al v. PropertyRadar, Inc., et al.
D.C. Docket No.:    1:24-cv-5600-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1584

Case Name:          Atlas Data Privacy Corp., et al v. The Alesco Group, L.L.C.
D.C. Docket No.:    1:24-cv-5656-MB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1585

Case Name:          Atlas Data Privacy Corp., et al v. Searchbug, Inc.
D.C. Docket No.:    1:24-cv-05658-MB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1586

Case Name:          Atlas Data Privacy Corp., et al. v. Amerilist, Inc., et al.
D.C. Docket No.:    1:24-cv-05775-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1587

Case Name:          Atlas Data Privacy Corp., et al. v. US Data Corporation, et al.
D.C. Docket No.:    1:24-cv-7324-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1588

Case Name:          Atlas Data Privacy Corp., et al. v. Smarty, LLC, et al.
D.C. Docket No.:    1:24-cv-8075-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1589

Case Name:          Atlas Data Privacy Corp., et al. v. Compact Inform. Sys., LLC
D.C. Docket No.:    1:24-cv-8451-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1590

Case Name:          Atlas Data Privacy Corp., et al. v. Darkowl, LLC, et al.
D.C. Docket No.:    1:24-cv-10600-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1591




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Case Name:          Atlas Data Privacy Corp., et al. v. Spy Dialer, Inc.
D.C. Docket No.:    1:24-cv-11023-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1592

Case Name:          Atlas Data Privacy Corp., et al. v. Lighthouse List Co., LLC
D.C. Docket No.:    1:24-cv-11443-HB
Court or Agency:    United States District Court for the District of New Jersey
Docket No.:         25-1593




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